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 1                                                 THE HONORABLE KYMBERLY K. EVANSON
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 7                              UNITED STATES DISTRICT COURT
 8                        FOR THE WESTERN DISTRICT OF WASHINGTON
 9
      LUIGI MARRUSO,
10
                                                       Case No.: 2:24-cv-01455-KKE
11           Plaintiff,
                                                       PLAINTIFF’S SUPPLEMENTAL
12                   v.                                MEMORANDUM REGARDING
                                                       SERVICE ON MASTERBUCKS
13
      ROBERT W. MONSTER, an individual,                LLC
14    EPIK INC., a Washington corporation, and
      MASTERBUCKS LLC, a Wyoming
15    limited liability company,
16
            Defendants.
17   ________________________________________________________________
               PLAINTIFF’S SUPPLEMENTAL MEMORANDUM REGARDING
18                       SERVICE ON MASTERBUCKS LLC
19

20          Plaintiff respectfully submits this supplemental memorandum pursuant to the Court’s April
21
     2, 2025 Order (“Order”) seeking additional evidence and legal authority establishing that service
22
     on Defendant Masterbucks LLC was proper under Federal Rule of Civil Procedure 4 (ECF 19, p.
23
     1).
24

25

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27
      PLAINTIFF’S REQUEST FOR                     Revision Legal,          Ranallo Law Office
28
      ENTRY OF DEFAULT                            PLLC                     5058 57th Ave. S.
      CASE NO. 2:24-CV-01455 - 1                  8051 Moorsbridge         Seattle, WA 98118
                                                  Rd.                      (831) 607-9229
                                                  Portage, MI 49024
                                                  (269) 281-3908
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                                                  FACTS
 1

 2           Plaintiff filed his Complaint in this action on September 12, 2024, alleging claims arising

 3   out of a fraudulent escrow scheme operated jointly by Defendants Robert W. Monster (“Monster”),
 4
     Epik Inc. (“Epik”), and Masterbucks, LLC (“Masterbucks”). (ECF 1). As set forth in the
 5
     Complaint, Masterbucks is a Wyoming limited liability company that, at all relevant times,
 6

 7
     operated in close coordination with Epik and was beneficially owned and operated by Monster.

 8   Plaintiff alleged that Monster was the driving force behind both Epik and Masterbucks and used
 9   the entities interchangeably to misappropriate funds under the guise of providing online escrow
10
     services. (ECF 1, pp. 2–3).
11
             On September 25, 2024, Plaintiff personally served Robert W. Monster with the summons
12

13   and Complaint. (ECF 7). At the time of service, Masterbucks did not have a registered agent on

14   file with the Washington Secretary of State. As the Court has noted in its April 2, 2025 Order for
15
     Supplemental Briefing, “records from the Washington Secretary of State and Wyoming Secretary
16
     of State show that Masterbucks was administratively dissolved in November 2023 and that
17
     Northwest Registered Agent Service resigned as the registered agent as of January 2024.” (ECF
18

19   19, p 1).

20           Plaintiff moved for entry of default against all defendants, including Masterbucks, but the
21
     Court requested additional evidence demonstrating that service on Monster was legally sufficient
22
     under Rule 4 of the Federal Rules of Civil Procedure. (ECF 19, p. 2). This supplemental
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24
     memorandum is submitted in response to that Order.

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                                                   Rd.                      (831) 607-9229
                                                   Portage, MI 49024
                                                   (269) 281-3908
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                                          LAW AND ARGUMENT
 1

 2           Plaintiff personally served Robert Monster, the sole member of Masterbucks, on September

 3   25, 2024. This method of service is valid under both avenues permitted by Rule 4(h)(1), which
 4
     governs service on corporations and unincorporated associations such as limited liability
 5
     companies.
 6

 7
             Fed. R. Civ. P. 4(h)(1) authorizes service on a domestic business entity “in the manner

 8   prescribed by Rule 4(e)(1) for serving an individual,” or “by delivering a copy of the summons
 9   and of the complaint to an officer, a managing or general agent, or any other agent authorized by
10
     appointment or by law to receive service of process and—if the agent is one authorized by statute
11
     and the statute so requires—by also mailing a copy of each to the defendant.” Fed R. Civ. P. 4(e)(1)
12

13   allows service on an individual within the United States by “following state law for serving a

14   summons in an action brought in courts of general jurisdiction in the state where the district court
15
     is located or where service is made.”
16
             Under Washington law, service on an LLC may be made by serving its registered agent,
17
     or, if none exists, by “handing a copy to the individual in charge of any regular place of business
18

19   or activity of the entity if the individual served is not a plaintiff in the action.” See RCW 23.95.450.

20           A. Plaintiff properly served Masterbucks, LLC under Fed. R. Civ. P. 4(h)(1)(B)
21
             Plaintiff properly served Masterbucks, LLC where Rule 4(h)(1)(B) permits service by
22
     “delivering a copy of the summons and complaint to an officer, a managing or general agent, or
23

24
     any other agent authorized by appointment or by law to receive service of process” and where

25   Plaintiff served Robert Monster personally. (ECF 7). As the sole member of Masterbucks, Monster
26   is its managing agent. Plaintiff’s Complaint specifically alleges that “Masterbucks is beneficially
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      PLAINTIFF’S REQUEST FOR                        Revision Legal,            Ranallo Law Office
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      ENTRY OF DEFAULT                               PLLC                       5058 57th Ave. S.
      CASE NO. 2:24-CV-01455 - 3                     8051 Moorsbridge           Seattle, WA 98118
                                                     Rd.                        (831) 607-9229
                                                     Portage, MI 49024
                                                     (269) 281-3908
              Case 2:24-cv-01455-KKE         Document 20        Filed 04/14/25     Page 4 of 10




     owned and operated by Monster” and that Masterbucks and Epik operated in tandem under
 1

 2   Monster’s direction (ECF 1, pp. 2–3). These allegations are substantiated by records from the

 3   Washington Secretary of State, which identify Epik Holdings, Inc. as the sole governor of
 4
     Masterbucks, LLC, and Robert Monster as the governor and registered agent of Epik. Exhibit A,
 5
     Masterbucks Records, Washington; 1 Exhibit B, Epik Records. 2 The overlap in management and
 6

 7
     control underscores that Monster is the person most responsible for the direction of Masterbucks

 8   (and Epik) and its only known member, manager, or agent, as pled in Plaintiff’s Complaint. (ECF
 9   1, pp. 2–3). The two entities and one individual are the only three defendants in this case, and as
10
     well-detailed in Plaintiff’s Complaint, they are all essentially Monster himself. (ECF 1, pp 2-6).
11
               B. Plaintiff properly served Masterbucks, LLC under Fed. R. Civ. P. 4(h)(1)(A) and
12
                  RCW 23.95.450.
13
               Plaintiff also properly served Masterbucks, LLC under Fed. R. Civ. P. 4(h)(1)(A) and RCW
14
     23.95.450 where Masterbucks had no registered agent at the time of service. As noted by this Court
15

16   in its Order, Northwest Registered Agent resigned as Masterbucks, LLC’s registered agent in

17   January 2024. (ECF 19, p 1). By personally serving Masterbucks, LLC’s only “individual in charge
18
     of any regular place of business or activity of the entity,” Robert Monster, who is “not a plaintiff
19
     in this action,” Plaintiff properly served Masterbucks, LLC under Washington law. See RCW
20
     23.95.450.
21

22

23
     1
       Available at
24
     https://ccfs.sos.wa.gov/?_gl=1*1alcobm*_ga*NTAwOTkzODc4LjE3NDQzODMwMjQ.*_ga_7B08VE04WV*MT
     c0NDM4MzAyNC4xLjEuMTc0NDM4MzAzNS4wLjAuMA..#/BusinessSearch/BusinessInformation.
25   2
       Available at
     https://ccfs.sos.wa.gov/?_gl=1*1alcobm*_ga*NTAwOTkzODc4LjE3NDQzODMwMjQ.*_ga_7B08VE04WV*MT
26
     c0NDM4MzAyNC4xLjEuMTc0NDM4MzAzNS4wLjAuMA..#/BusinessSearch/BusinessInformation
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         PLAINTIFF’S REQUEST FOR                    Revision Legal,          Ranallo Law Office
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         ENTRY OF DEFAULT                           PLLC                     5058 57th Ave. S.
         CASE NO. 2:24-CV-01455 - 4                 8051 Moorsbridge         Seattle, WA 98118
                                                    Rd.                      (831) 607-9229
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            Furthermore, Plaintiff properly filed proof of personal service on Monster with the Court.
 1

 2   (ECF 7). The proof of service confirms that on September 25, 2024, the process server personally

 3   delivered the summons and complaint to Monster. (ECF 7). Personal service on Monster is more
 4
     than reasonably calculated to give actual notice to Masterbucks; it ensured actual notice in the
 5
     most direct manner possible under the circumstances. C.f. Direct Mail Specialists, Inc. v. Eclat
 6

 7
     Computerized Tech., Inc., 840 F.2d 685, 688 (9th Cir. 1988) (noting rules relating to service of

 8   process are “flexible rule[s] that should be liberally construed so long as a party receives sufficient
 9   notice of the complaint” (internal citations and quotations omitted)).
10
            Accordingly, service on Masterbucks was valid under both Rule 4(h)(1)(A) and (B). The
11
     LLC had no registered agent, and its sole member and managing agent—the person in charge of
12

13   the entity and its activities—was personally served. That is sufficient under both federal and

14   Washington law.
15

16
                                                            Respectfully submitted,
17
                                                            /s/ Nicholas Ranallo
18
                                                            Nicholas Ranallo
19                                                          Washington Bar No. 51439
                                                            5058 57th Ave. S.
20                                                          Seattle, WA 98118
                                                            nick@ranallolawoffice.com
21
                                                            (831) 607-9229
22
                                                            /s/ Eric Misterovich
23                                                          Eric Misterovich (P73422)
24
                                                            Pro Hac Vice Forthcoming
                                                            Revision Legal, PLLC
25                                                          8051 Moorsbridge Rd.
                                                            Portage, MI 49024
26                                                          269.281.3908
27
      PLAINTIFF’S REQUEST FOR                        Revision Legal,           Ranallo Law Office
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      ENTRY OF DEFAULT                               PLLC                      5058 57th Ave. S.
      CASE NO. 2:24-CV-01455 - 5                     8051 Moorsbridge          Seattle, WA 98118
                                                     Rd.                       (831) 607-9229
                                                     Portage, MI 49024
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                                               eric@revisionlegal.com
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     PLAINTIFF’S REQUEST FOR            Revision Legal,        Ranallo Law Office
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     ENTRY OF DEFAULT                   PLLC                   5058 57th Ave. S.
     CASE NO. 2:24-CV-01455 - 6         8051 Moorsbridge       Seattle, WA 98118
                                        Rd.                    (831) 607-9229
                                        Portage, MI 49024
                                        (269) 281-3908
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                          Exhibit A
Firefox                                                        https://ccfs.sos.wa.gov/?_gl=1*1alcobm*_ga*NTAwOTkzODc4LjE3...
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          BUSINESS INFORMATION
          Business Name:
          MASTERBUCKS LLC
          UBI Number:
          604 970 941
          Business Type:
          FOREIGN LIMITED LIABILITY COMPANY
          Business Status:
          TERMINATED
          Principal Office Street Address:
          522 W RIVERSIDE AVE STE N, SPOKANE, WA, 99201-0580, UNITED STATES
          Principal Office Mailing Address:
          522 W RIVERSIDE AVE STE N, SPOKANE, WA, 99201-0580, UNITED STATES
          Expiration Date:
          09/30/2023
          Jurisdiction:
          UNITED STATES, WYOMING
          Formation/ Registration Date:
          09/15/2022
          Period of Duration:
          PERPETUAL
          Inactive Date:
          01/03/2024
          Nature of Business:
          ANY LAWFUL PURPOSE

          REGISTERED AGENT INFORMATION
          Registered Agent Name:
          Street Address:
          Mailing Address:


          GOVERNORS
          Title                 Governors Type   Entity Name                     First Name        Last Name
          GOVERNOR              ENTITY           EPIK HOLDINGS INC




1 of 1                                                                                                      4/11/25, 10:51 AM
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                          Exhibit B
Firefox                                                        https://ccfs.sos.wa.gov/?_gl=1*1alcobm*_ga*NTAwOTkzODc4LjE3...
                      Case 2:24-cv-01455-KKE     Document 20      Filed 04/14/25      Page 10 of 10


          BUSINESS INFORMATION
          Business Name:
          EPIK INC.
          UBI Number:
          602 401 092
          Business Type:
          WA PROFIT CORPORATION
          Business Status:
          ADMINISTRATIVELY DISSOLVED
          Principal Office Street Address:
          3832 234TH AVE SE, SAMMAMISH, WA, 98075-6310, UNITED STATES
          Principal Office Mailing Address:
          3832 234TH AVE SE, SAMMAMISH, WA, 98075-6310, UNITED STATES
          Expiration Date:
          06/30/2024
          Jurisdiction:
          UNITED STATES, WASHINGTON
          Formation/ Registration Date:
          06/11/2004
          Period of Duration:
          PERPETUAL
          Inactive Date:
          11/03/2024
          Nature of Business:
          OTHER SERVICES

          REGISTERED AGENT INFORMATION
          Registered Agent Name:
          ROBERT MONSTER
          Street Address:
          3832 234TH AVE SE, SAMMAMISH, WA, 98075-6310, UNITED STATES
          Mailing Address:
          3832 234TH AVE SE, SAMMAMISH, WA, 98075-6310, UNITED STATES


          GOVERNORS
          Title                 Governors Type       Entity Name            First Name          Last Name
          GOVERNOR              INDIVIDUAL                                  ROBERT              MONSTER




1 of 1                                                                                                      4/11/25, 10:51 AM
